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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA

__________________________________________
                                          )
MICHAEL SARTIP                            )
                                          )
            Plaintiff,                    )
v.                                        )                 Case No.: 4:21-cv-1039-RBH
                                          )
                                          )
TESLA, INC.                               )                 RESPONSES TO 26.01
                                          )                 INTERROGATORIES
                                          )
            Defendant.                    )
__________________________________________)

       Defendant Tesla, Inc. (“Tesla”) hereby responses to the Local Rule 26.01 Interrogatories as

follows:

       (A) State the full name, address, and telephone number of all persons or legal entities who

           may have a subrogation interest in each claim and the state the basis and extent of that

           interest.

           RESPONSE: No person or legal entities have a subrogation interest in any of the claims

           asserted.

       (B) As to each claim, state whether it should be tried jury or nonjury and why.

           RESPONSE: All claims asserted by Plaintiff are the subject of binding arbitration and

           Defendant will soon file a motion to compel arbitration with this Court. In the event

           that motion is denied, all claims are triable to a jury because Plaintiff seeks legal

           damages/non-equitable relief.

       (C) State whether the party submitting these responses is a publicly-owned company and

           separately identify (1) any parent corporation and any publicly-held corporation owning
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    ten percent (10%) or more of the party’s stock; (2) each publicly-owned company of

    which it is a parent; and (3) each publicly-owned company in which the party owns ten

    percent (10%) or more of the outstanding shares.

    RESPONSE: Tesla, Inc. is a publicly-owned company and: (1) there are no parent

    corporations and to its knowledge no publicly-held corporations owning ten percent

    (10%) or more of Tesla’s stock; (2) Tesla, Inc. is not the parent of any publicly-owned

    company; and (3) Tesla, Inc. does not own ten percent (10%) or more of the outstanding

    shares on any publicly-owned company.

(D) State the basis for asserting the claim in the division in which it was filed (or the basis

    of any challenge to the appropriateness of the division). See Local Civ. Rule 3.01

    (D.S.C.).

    RESPONSE: This matter should be assigned to the Florence Division as Plaintiff is a

    resident of Horry County, South Carolina.

(E) Is this action related in whole or in part to any other matter filed in this district, whether

    civil or criminal? If so, provide (1) a short caption and the full case number of the related

    action; (2) an explanation of how the matters are related; and (3) a statement of the status

    of the related action. Counsel should disclose any cases that may be related regardless

    of whether there are still pending. Whether cases are related such that they should be

    assigned to a single judge will be determined by clerk of the court based on a

    determination of whether the cases arise from the same or identical transactions,

    happenings, or events; involve the identical parties or property; or for any other reason

    would entail substantial duplication of labor if heard by different judges.

    RESPONSE: Upon information and belief, there are no related actions.

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      (F) [Defendants only.]     If the defendant is improperly identified, give the proper

         identification and state whether counsel will accept service of an amended summons

         and pleading reflecting the correct identification.

         RESPONSE: Defendant is properly identified herein.

      (G) [Defendants only.] If you content that some other person or legal entity is, in whole or

         in part, liable to you or the party asserting a claim against you in this matter, identify

         such person or entity and describe the basis for their liability.

         RESPONSE: Defendant is not making this contention at this time.



Dated: Albany, New York                              ROSEWALDORF PLLC
       April 8, 2021
                                            By:        s/ Jon. B. Waldorf
                                                             Jon B. Waldorf, Esq.
                                                     (SC Bar No.: 76445)
                                                     (District Court ID No.: 10668)
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                                            CERTIFICATE OF SERVICE

          I hereby certify that these Reponses to Local Rule 26.1 Interrogatories, filed through the

ECF system on this date, will be sent electronically to the registered participants as identified on

the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-

registered.

Dated: Albany, New York
       April 8, 2021

                                                                          s/ Jon B. Waldorf
                                                                         Jon B. Waldorf, Esq. (SC Bar No.: 76445)
                                                                         (District Court ID No.: 10668)

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